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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
               CHAMBERS OF                                            U.S. Courthouse
            TIMOTHY J. SULLIVAN                                    6500 Cherrywood Lane
      UNITED STATES MAGISTRATE JUDGE                              Greenbelt, Maryland 20770
      MDD_TJSchambers@mdd.uscourts.gov                                 (301) 344-3593



                                         February 17, 2022

LETTER TO PLAINTIFF:

Christine De Leva
7417 Lake Katrine Terrace
Montgomery Village, MD 20879

       Re:     De Leva v. Lowe’s Companies, Inc. et al
               Case No. DKC-21-1820

Dear Ms. De Leva:

       This case has been referred to me for a settlement conference.

        It is my experience that settlement conferences are more productive when all parties are
represented by counsel. Because you are currently representing yourself, the Court is attempting
to locate an attorney willing to assist you free of charge at the settlement conference. Once an
attorney is located who is willing to accept this limited pro bono appointment, I will provide you
with the attorney’s contact information and schedule the settlement conference for a date
convenient to the parties.

       Please know that once a pro bono attorney is appointed to represent you during the
settlement conference, their only obligation will be to appear on the day of the settlement
conference and assist you during the conference. They will not be expected to assist you in any
other way with your case.


                                                     Very truly yours,


                                                            /s/
                                                     Timothy J. Sullivan
                                                     United States Magistrate Judge
